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IN THE UNITED sTATES DISTRICT CoURT n ' 34
FoR THE wESTERN DISTRICT oF TENNESSEE »‘5 J:./t-ig$ p
EASTERN DIVISIoN t
UNITED STATES OF AMERICA,
Plaintiff,
VS. No. 05-10027-T

COLLIS PAUL LANCASTER,
Defendant.

ORDER CONTINUING TRIAL AND R_EPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause shown, the report date which is currently scheduled for June 24, 2005, and the trial
date which is currently scheduled for July 13, 2005, are hereby continued. The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinalv_ the trial is continued from JulV 13. 2005 . to SeDternber 12` 2005`
at 9:30 A.M. The resulting period ofdelay, nom July 13, 2005, to September 12, 2005, is
excluded pursuant to 18 U.S.C. § 3161(h)(8)(A). Defendant is allowed an additional thirty (30)
days to file pretrial motions.

A new report/motion date has been set for August 24, 2005, at 8:30 a.rn.

IT IS SO ORDERED.

  
  

  

D. TODD
ED STA'I`ES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CR-10027 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

